       Case 1:21-cv-03217-CJN Document 19-1 Filed 04/29/22 Page 1 of 6




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

                                   )
MARK MEADOWS,                      )
                                   )
            Plaintiff,             )
                                   )
      v.                           )     Case No. 1:21CV3217 (CJN)
                                   )
NANCY PELOSI, et al.,              )
                                   )
            Defendants.            )
                                   )




                              EXHIBIT A
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                                    Counsel for Plaintiff Committee on Ways and
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